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10
     Attorneys for Defendant MONSTA ATHLETICS, LLC.
11

12                           UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14

15
     MONSTER ENERGY COMPANY,                   )   CASE NO. 5:18-cv-00869
16   a Delaware Corporation,                   )
                                               )
17                                                 DEFENDANT MONSTA
                         Plaintiff,            )   ATHLETICS, LLC’S ANSWER TO
18
                                               )   PLAINTIFF’S COMPLAINT
     vs.                                       )
19                                             )   Complaint served: April 26, 2018
     MONSTA ATHLETICS, LLC, a                  )
20                                             )
     California limited liability company.
21                                             )
                                               )
22                       Defendants.           )
                                               )
23
                                               )
24

25
            Defendant MONSTA ATHLETICS, LLC, a California limited liability company
26
     (“MONSTA”) hereby answers the complaint filed by MONSTER ENERGY
27
     COMPANY, a Delaware Corporation (“MONSTER”) as set forth below.
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                  DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1          I. JURISDICTION AND VENUE
2    1. Admitted.
3    2. Admitted.
4    3. Denied.
5    4. Denied.
6          II. THE PARTIES
7    5. Admitted.
8    6. Admitted.
9          III. COMMON ALLEGATIONS FOR ALL CLAIMS OF RELIEF
10         A. Monster’s Trademarks and Trade Dress
11   7. Defendant is without sufficient information to admit or deny the
12   allegations of Paragraph 7 of the Complaint and therefore denies the same.
13   8. Defendant is without sufficient information to admit or deny the
14   allegations of Paragraph 8 of the Complaint and therefore denies the same.
15   9. Defendant is without sufficient information to admit or deny the
16   allegations of Paragraph 9 of the Complaint and therefore denies the same.
17   10. Defendant is without sufficient information to admit or deny the
18   allegations of Paragraph 10 of the Complaint and therefore denies the same.
19   11. Defendant is without sufficient information to admit or deny the
20   allegations of Paragraph 11 of the Complaint and therefore denies the same.
21   12. Defendant is without sufficient information to admit or deny the
22   allegations of Paragraph 12 of the Complaint and therefore denies the same.
23   13. Defendant is without sufficient information to admit or deny the
24   allegations of Paragraph 13 of the Complaint and therefore denies the same.
25   14. Defendant is without sufficient information to admit or deny the
26   allegations of Paragraph 14 of the Complaint and therefore denies the same.
27   15. Defendant is without sufficient information to admit or deny the
28   allegations of Paragraph 15 of the Complaint and therefore denies the same.


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    16. Defendant is without sufficient information to admit or deny the
2    allegations of Paragraph 16 of the Complaint and therefore denies the same
3    17. Defendant is without sufficient information to admit or deny the
4    allegations of Paragraph 17 of the Complaint and therefore denies the same.
5    18. Defendant is without sufficient information to admit or deny the
6    allegations of Paragraph 18 of the Complaint and therefore denies the same.
7    19. Defendant is without sufficient information to admit or deny the
8    allegations of Paragraph 19 of the Complaint and therefore denies the same,
9    20. Defendant is without sufficient information to admit or deny the
10   allegations of Paragraph 20 of the Complaint and therefore denies the same.
11   21. Defendant is without sufficient information to admit or deny the
12   allegations of Paragraph 21 of the Complaint and therefore denies the same.
13   22. Defendant is without sufficient information to admit or deny the
14   allegations of Paragraph 22 of the Complaint and therefore denies the same.
15   23. Defendant is without sufficient information to admit or deny the
16   allegations of Paragraph 23 of the Complaint and therefore denies the same.
17   24. Defendant is without sufficient information to admit or deny the
18   allegations of Paragraph 24 of the Complaint and therefore denies the same.
19   25. Defendant is without sufficient information to admit or deny the
20   allegations of Paragraph 25 of the Complaint and therefore denies the same.
21   26. Defendant is without sufficient information to admit or deny the
22   allegations of Paragraph 26 of the Complaint and therefore denies the same.
23   27. Defendant is without sufficient information to admit or deny the
24   allegations of Paragraph 27 of the Complaint and therefore denies the same.
25   28. Defendant is without sufficient information to admit or deny the
26   allegations of Paragraph 28 of the Complaint and therefore denies the same.
27   29. Defendant is without sufficient information to admit or deny the
28   allegations of Paragraph 29 of the Complaint and therefore denies the same.


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    30. Defendant is without sufficient information to admit or deny the
2    allegations of Paragraph 30 of the Complaint and therefore denies the same.
3    31. Defendant is without sufficient information to admit or deny the
4    allegations of Paragraph 31 of the Complaint and therefore denies the same.
5    32. Defendant is without sufficient information to admit or deny the
6    allegations of Paragraph 32 of the Complaint and therefore denies the same.
7    33. Defendant is without sufficient information to admit or deny the
8    allegations of Paragraph 33 of the Complaint and therefore denies the same.
9    34. Defendant is without sufficient information to admit or deny the
10   allegations of Paragraph 34 of the Complaint and therefore denies the same.
11   35. Defendant is without sufficient information to admit or deny the
12   allegations of Paragraph 35 of the Complaint and therefore denies the same.
13   36. Defendant is without sufficient information to admit or deny the
14   allegations of Paragraph 36 of the Complaint and therefore denies the same.
15   37. Defendant is without sufficient information to admit or deny the
16   allegations of Paragraph 37 of the Complaint and therefore denies the same.
17   38. Defendant is without sufficient information to admit or deny the
18   allegations of Paragraph 38 of the Complaint and therefore denies the same.
19   39. Defendant is without sufficient information to admit or deny the
20   allegations of Paragraph 39 of the Complaint and therefore denies the same.
21          B. Defendant’s Infringing Activities
22   40. Admitted, that among other things, Defendant is engaged in the business
23   of producing, selling, and distributing sports equipment, clothing, sports bags, and
24   accessories. Admitted that Defendant owns and operates the web page
25   https://monstaathletics.com/ and maintains a Facebook presence at
26   https://www.facebook.com/MonstaAthletics/. Defendant denies the remaining
27   allegations of Paragraph 40 of the Complaint.
28




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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    41. Admitted that MONSTA does offer goods and services in connection with
2    MONSTA, MONSTA ATHLETICS, MONSTA GEAR, and the “M” logo.
3    Defendant denies the remaining allegations of Paragraph 41 of the Complaint.
4    42. Denied.
5    43. Denied.
6    44. Denied.
7    45. Denied.
8    46. Admitted that MONSTA did filed a U.S. Trademark Application on June, 10, 2015
9    for their “M” logo mark, which registered on May 31, 2016 as U.S. Registration No.
10   4,967,673. Defendant denies the remaining allegations of Paragraph 46 of the Complaint.
11   47. Admit
12   48. Denied.
13   49. Denied.
14   50. Denied.
15   51. Denied.
16   52. Denied.
17   53. Denied.
18   54. Denied.
19   55. Denied.
20   56. Denied.
21   57. Denied.
22   58. Denied.
23   59. Denied.
24   60. Denied.
25         IV. FIRST CLAIM FOR RELIEF
26         (Trademark Infringement, Trade Dress Infringement, and False
27         Designation of Origin Under 15 U.S.C. § 1125(a))
28   61. MONSTA herein incorporates by reference its answer to Paragraphs 1-60


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    of the Complaint.
2    62. Admitted that this is styled as an action for trademark infringement,
3    trade dress infringement, and false designation of origin.
4    63. Defendant is without sufficient information to admit or deny the
5    allegations of Paragraph 63 of the Complaint and therefore denies the same.
6    64. Denied.
7    65. Denied.
8    66. Denied.
9    67. Denied.
10   68. Denied.
11   69. Denied.
12   70. Denied.
13          V. SECOND CLAIM FOR RELIEF
14          (Trademark Infringement Under 15 U.S.C. § 1114)
15   71. MONSTA herein incorporates by reference its answer to Paragraphs 1-70
16   of the Complaint.
17   72. Admitted that this is styled as an action for trademark infringement.
18   73. Defendant is without sufficient information to admit or deny the
19   allegations of Paragraph 73 of the Complaint and therefore denies the same.
20   74. Denied.
21   75. Denied.
22   76. Denied.
23   77. Denied.
24   78. Denied.
25          VI. THIRD CLAIM FOR RELIEF
26          (Federal Dilution of the Claw Icon Mark Under 15 U.S.C. § 1125(c))
27   79. MONSTA herein incorporates by reference its answers to Paragraphs 1-
28   78 of the Complaint.


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    80. Admitted that this is styled as an action for federal trademark dilution arising under
2    15 U.S.C. § 1125(c).
3    81. Defendant is without sufficient information to admit or deny the
4    allegations of Paragraph 81 of the Complaint and therefore denies the same.
5    82. Denied.
6    83. Denied.
7    84. Denied.
8    85. Denied.
9    86. Denied.
10          VII. FOURTH CLAIM FOR RELIEF
11          (Trademark Counterfeiting Under 15 U.S.C. § 1114)
12   87. MONSTA herein incorporates by reference its answers to Paragraphs 1-
13   86 of the Complaint.
14   88. Admitted that this is styled as an action for trademark counterfeiting arising under 15
15   U.S.C. § 1114.
16   89. Denied.
17   90. Denied.
18   91. Denied.
19   92. Denied.
20          VIII. FIFTH CLAIM FOR RELIEF
21          (Copyright Infringement Under 17 U.S.C. §§ 501 et seq.)
22   93. MONSTA herein incorporates by reference its answers to Paragraphs 1-
23   92 of the Complaint.
24   94. Admitted that this is styled as an action for copyright infringement under the
25   Copyright Act, 17 U.S.C. §§ 501, et seq.
26   95. Defendant is without sufficient information to admit or deny the
27   allegations of Paragraph 95 of the Complaint and therefore denies the same.
28   96. Defendant is without sufficient information to admit or deny the


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                7
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1    allegations of Paragraph 96 of the Complaint and therefore denies the same.
2    97. Denied.
3    98. Denied.
4    99. Denied.
5    100. Denied.
6           IX. SIXTH CLAIM FOR RELIEF
7           (Petition for Cancellation of U.S. Trademark Registration No. 4,967,673)
8    101. MONSTA herein incorporates by reference its answers to Paragraphs 1-
9    100 of the Complaint.
10   102. Admitted that this is styled as an action for cancellation of Defendant’s U.S.
11   Trademark Registration No. 4,967,673 under 15 U.S.C. § 1119.
12   103. Defendant is without sufficient information to admit or deny the
13   allegations of Paragraph 103 of the Complaint and therefore denies the same.
14   104. Denied.
15   105. Denied.
16          X. SEVENTH CLAIM FOR RELIEF
17          (Dilution of the Claw Icon Mark Under California Business &
18          Professions Code § 14247)
19   106. MONSTA herein incorporates by reference its answers to Paragraphs 1-
20   105 of the Complaint.
21   107. Admitted that this is styled as an action for dilution under California Business &
22   Professions Code § 14247.
23   108. Defendant is without sufficient information to admit or deny the
24   allegations of Paragraph 108 of the Complaint and therefore denies the same.
25   109. Denied.
26   110. Denied.
27   111. Denied.
28   112. Denied.


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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                8
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1           XI. EIGHTH CLAIM FOR RELIEF
2           (Unfair Competition Under California Business & Professions Code
3           §§ 17200 et seq.)
4    113. MONSTA herein incorporates by reference its answers to Paragraphs 1-
5    112 of the Complaint.
6    114. Admitted that this is styled as an action for unfair competition under California
7    Business & Professions Code §§ 17200, et seq.
8    115. Denied.
9    116. Denied.
10   117. Denied.
11          XII. NINTH CLAIM FOR RELIEF
12          (California Common Law Unfair Competition)
13   118. MONSTA herein incorporates by reference its answers to Paragraphs 1-
14   117 of the Complaint.
15   119. Admitted that this is styled as an action for unfair competition under the common
16   law of California.
17   120. Denied.
18   121. Denied.
19   122. Denied.
20   123. Denied.
21   124. Denied.
22                                AFFIRMATIVE DEFENSES
23          MONSTA has alleged defenses, as set forth below, to avoid the necessity of
24   needing to amend its Answer, though circumstances may arise requiring such
25   amendment, and MONSTA reserves the right to do so. MONSTA recognizes that,
26   depending upon the development of facts, some of the defenses may ultimately not be
27   applicable. By such pleading MONSTA also intends no alteration of the burden of
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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    proof and/or burden of going forward with the evidence that otherwise exists with respect
2    to any particular issue at law or in equity. Furthermore, all defenses are pled
3    in the alternative, and do not constitute an admission of liability or as to whether
4    Plaintiff is entitled to any relief whatsoever.
5                               FIRST AFFIRMATIVE DEFENSE
6                                         (Improper Venue)
7           1. Venue is improper in this District.
8                              SECOND AFFIRMATIVE DEFENSE
9                                   (No Likelihood of Confusion)
10          2. There is no likelihood of confusion as to Plaintiff’s use of the MONSTER name
11   and the related uses outlined in Plaintiff’s complaint, and Defendants’ use of the
12   MONSTA name and their “M” logo.
13                              THIRD AFFIRMATIVE DEFENSE
14                                         (Superior Rights)
15          3. Defendant has superior rights to use of the MONSTA name in connection with
16   sporting goods and apparel, and related equipment.
17                             FOURTH AFFIRMATIVE DEFENSE
18                                  (No Protectable Trade Dress)
19          4. Plaintiff has no protectable trade dress as it applies to Defendant’s use of
20   a green and black color scheme on sporting goods and equipment.
21

22                              FIFTH AFFIRMATIVE DEFENSE
23                                  (No Inherent Distinctiveness)
24          5. Plaintiff’s MONSTER marks, and their green and black color scheme, are not
25   inherently distinctive, as such, MONSTER’s claims are barred because the asserted
26   trademarks and functional design elements are invalid, lack secondary meaning, are not
27   distinctive and/or are generic.
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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1                             SIXTH AFFIRMATIVE DEFENSE
2                                   (No Secondary Meaning)
3          6. Plaintiff’s MONSTER marks, and their green and black color scheme has not
4    acquired secondary meaning in the apparel, sporting goods and equipment markets.
5                               SEVENTH AFFIRMATIVE DEFENSE
6                          (No Infringement or False Designation of Origin)
7          7. Defendant has not engaged in any conduct that constitutes federal
8    trademark infringement, trade dress infringement or false designation of origin.
9                            EIGHTH AFFIRMATIVE DEFENSE
10            (No Unfair Competition – California Business & Professions Code)
11         8. Defendant has not engaged in any conduct that constitutes Unfair
12   Competition under California Business & Professions Code §§ 17200 et seq.
13                            NINTH AFFIRMATIVE DEFENSE
14                          (No Unfair Competition – Common Law)
15         9. Defendant has not engaged in any conduct that constitutes Unfair
16   Competition under California common law.
17                               TENTH AFFIRMATIVE DEFENSE
18                                             (No Injury)
19         10. Plaintiff has not been injured by any conduct of Defendant.
20                             ELEVENTH AFFIRMATIVE DEFENSE
21                                               (Laches)
22         11. Plaintiff’s claims are barred by the doctrine of laches.
23                              TWELFTH AFFIRMATIVE DEFENSE
24                               (Waiver, Estoppel and Acquiescence)
25         12. Plaintiff’s claims are barred by the doctrines of waiver, estoppel and
26   acquiescence.
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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1                          THIRTEENTH AFFIRMATIVE DEFENSE
2                                         (Unclean Hands)
3           13. Plaintiff’s claims are barred by the doctrine of unclean hands.
4                         FOURTEENTH AFFIRMATIVE DEFENSE
5                                     (Statute of Limitations)
6           14. Plaintiff’s causes of action are barred by the applicable statute of
7    limitations.
8                           FIFTEENTH AFFIRMATIVE DEFENSE
9                                    (Failure to State a Claim)
10          15. The Complaint fails to state a claim upon which relief can be granted
11   against MONSTA.
12                          SIXTEENTH AFFIRMATIVE DEFENSE
13                                      (Pleading Uncertain)
14          16. The Complaint, and each and every cause of action stated therein, is
15   uncertain in that it is vague, ambiguous, and unintelligible.
16                        SEVENTEENTH AFFIRMATIVE DEFENSE
17                                          (Reservation)
18          17. MONSTA presently has insufficient knowledge or information on which
19   to form a belief as to whether it may have additional, as yet, unstated affirmative
20   defenses available. MONSTA reserves the right to assert additional defenses in the
21   event that discovery indicates they would be appropriate.
22                        EIGHTEENTH AFFIRMATIVE DEFENSE
23                                      (Failure to Mitigate)
24          18. Plaintiff’s claims are all barred or must be reduced because Plaintiff failed to
25   mitigate its alleged damages.
26

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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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1                         NINETEENTH AFFIRMATIVE DEFENSE
2                                   (No Enforceable Copyrights)
3          19. Plaintiff’s copyright claims are barred by the doctrine of independent creation
4    and because the asserted copyrights are invalid.
5

6    MONSTA expressly reserves all rights to amend this answer to assert additional
7    affirmative defenses as may become appropriate as discovery and factual and legal
8    research are conducted.
9                                     PRAYER FOR RELIEF
10         WHEREFORE, Defendant MONSTA prays as follows:
11         A. That Plaintiff’s claims be dismissed in their entirety, and that Plaintiff take
12   nothing by way of its complaint;
13         B. That the Court award Defendant MONSTA’s costs and reasonable attorneys’
14   fees as provided for by law; and
15         C. That the Court award Defendant MONSTA such other and further relief as the
16   Court deems just and proper.
17

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19   DATED: August 20, 2018                  Respectfully submitted,
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                                             DEMIRJIAN LAW OFFICES
21

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23
                                              By      /s/ Sevag Demirjian
24                                              Sevag Demirjian
25                                              Attorneys for Defendant
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                 DEFENDANT MONSTA ATHLETICS, LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
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